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Ao 91 (Rev. 08/09) criminal comp1aint ‘

UNITED STATES DISTRICT CoURT Umted States wm

fOf the Southern District of Texas
Southern District of Texas F'LED
09/30/2018
United States of America )
v. ) David J. Brad|ey, C|erk of Court

A|berto ORTEGA-Lopez ) Case NO` M` l 8 " 2 0 2 8 _M
YoB:1977 coB: lv\exico §
)

 

Defendant(s)

CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

 

 

On or about the date(s) of September 29, 2018 in the county of Hida|go in' the
Southern DiStriCt Of Texas , the defendant(s) violated:
Code Section Oyj‘ense Description
21 USC § 952 l|legal lmportation of a Controlled Substance / Approximately 32.32

Kilograms of Methamphetamine.

This criminal complaint is based on these facts:

See Attachment "A"

v/ Continued on the attached sheet.

/s/ Ana L. Agui|era

Subrnitted by reliable electronic means, sworn to and attested Complainam,S Signatw_e

to telephonically per Fed. R. Cr. P. 4.1, and probable cause
found on: Ana L. Aquilera, HS| Task Force Oft"lcer

Prz`nted name and title

Sworn to before me and signed in my presence.

WM "
Date: 9/30/2018 . :,.~“ ' ' ;
~ ` ' f;"j Judge’s signature
. ' -E
City and states |V|cA||en, Texas U.S. Magistrate Judge J. Scott Hacker

Printed name and title

    

  

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Attachment A

On September 29, 2018, Homeland Security Investigations (HSI), McAllen, Texas, received a
phone call from Customs and Border Protection Offlcers (CBPO) at the Pharr, Texas Port of
Entry about a vehicle suspected to be loaded with narcotics. During an x-ray inspection of the
vehicle, anomalies were discovered within the vehicle’s seats.

That vehicle was being driven by Alberto ORTEGA-Lopez, a Mexican national, as he attempted
to make entry into the United States from Mexico.

During a physical inspection of the vehicle, CBPOs discovered several packages which field-
tested positive for the characteristics of methamphetamine with a total weight of 32.32
kilograms

CBPO Task Force Offlcer Ana Aguilera and HSI Special Agent lsidro Martinez responded to
interview ORTEGA-Lopez. During the interview, ORTEGA-Lopez made several inconsistent
statements about his travel plans. ORTEGA-Lopez stated he agreed to cross the vehicle
containing what he believed to be an illegal substance into the United States, and deliver it to
unknown individuals in Houston, Texas in exchange for monetary gain. ORTEGA-Lopez stated
he was to contact an unknown individual in Mexico once he successfully crossed the port of
entry and again after he successfully crossed the United States Border Patrol Checkpoint on his
way to Houston, Texas. ORTEGA-Lopez stated he did not know exactly what he was `
transporting, but suspected it was drugs because he was to be paid $700 for such an easy job.

ORTEGA-Lopez admitted to having made similar trips to Houston, Texas in the past and
delivering the Vehicle to unknown individuals in exchange for a $700 payment.

